          Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                    CRIMINAL NO.

                     Y                                      DATE FILED:

JOHN BRADY                                                 VIOLATIONS:
                                                           r8 U.S.C. $ 666(a)(1)(A), (b) (theft
                                                           from organization receiving federal
                                                           funds - I count)
                                                           18 U.S.C. $ 1343 (wire fraud - I
                                                            count)
                                                            18 U.S.C. $ 2 (aiding and abetting)
                                                            Notices of forfeiture


                                      INFORMATION
                                             COUNT ONE


THE UNITED STATES ATTORNEY CHARGES TIIAT:

                                         BACKGROUNI)

At all times material to this information:

                l.       The Southeastem Pennsylvania Transportation Agency ("SEPTA") was a

metropolitan transportation authority providing rail, trolley, and bus services to passengers

within Philadelphi4 Pennsylvania, and the surounding counties     as   well   as service between the


states of Delaware and New JerseY.

                2.       SEPTA was an organization, and an agency ofa state govemment, which

received annual benefits in excess of $10,000 under federal programs involving grants, contracts,

subsidies, loans, guarantees, and other forms offederal assistance.
         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 2 of 13




               3.       SEPTA issued "procurement cards," also known as P-Cards, which

operated as SEPTA credit cards, to management level employees working in SEPTA's Bridges

and Buildings Department    ("BBD"). The BBD was responsible for maintaining, repairing, and

renovating SEPTA facilities throughout Philadelphia. SEPTA provided written rules and

procedures to the BBD employees conceming the use ofthese cards.

              4.        SEPTA rules allowed the P-Cards to be used for legitimate business

reasons to purchase materials and equipment   forjobsites when there was an emergency need for

those items and they were not available in SEPTA's stock system. Under SEPTA rules, most

materials for ajobsite should have been purchased in advance ofthe project through the purchase

order ("PO") process.

               5.       Consistent with the purpose of the P-Cards, SEPTA rules further limited

the use of the cards. Beginning in or around 2017, the limits for individual P-Cards were (1) a

maximum of$1,000 for a single transaction; (2) a maximum of$4,000 for daily purchases; and

(3) no more than four transactions per day. Employees were not permitted to artificially break up

purchases to hide violations of the rules, e.g., by making multiple smaller purchases to avoid

crossing the $1,000 threshold, also known as "fragmenting." Prior to 2017, these limits were

lower, i.e., $500 for a single transaction and $2,000 for daily pwchases'

               6.       Defendant JOHN BRADY was a Maintenance Manager in SEPTA's

BBD. ln that position, he supervised other employees in the BBD.

               7.       Mark Irvello, charged elsewhere, was the owner and operator of MSI Tool

Repair and Supply and AM Services and Supplies (collectively referred to here as "MSI")'



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         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 3 of 13




located at 7343 West Chester Pike in Upper Darby, Pennsylvania. MSI sold tools and other

construction products to various customers, including SEPTA, through employees in the BBD.

               8.     Stanley Woloff, charged elsewhere, was the owner and operator       of

Advantage lndustrial Supply C'AIS), located at 2137 East Tioga Street in Philadelphia,

Pennsylvania. AIS sold industrial supplies and other products to various customers, including

SEPTA, through employees in the BBD.

               9.     David Abell, Rodney Martinez, Stephen Kish, Jesse Fleck, Peter Brauner,

and James Tumer, all charged elsewhere, along with individuals known to the United States

Attorney and identified here as Manager   #   I,Manager #2, Manager #3, and Manager   l   , were

managers in SEPTA's BBD. Defendant JOHN BRADY, along with Abell, Martinez, Kish,

Fleck, Brauneq Turner, Manager #1, Manager #2,Manager #3, and Manager #4, were agents              of

SEPTA who were issued P-cards and were trusted to use those cards to make work-related

purchases on behalf of SEPTA. These managers supervised numerous employees in the          BBD

and held the following positions:

                      a.      David Abell was a Senior Director of Maintenance;

                       b.     Rodney Martinez was a Senior Director of Maintenance;

                       c.     Stephen Kish was a Dhector of Maintenance;

                       d.     Jesse Fleck was a    Director of Maintenance;

                       e.     Peter Brauner was a Maintenance Manager;

                       f.     James Tumer was a Maintenance Manager;

                       g.     Manager   #l    was a Maintenance Manager;

                       h.     Marnger #2 was a Maintenance Manager;

                                                   3
         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 4 of 13




                        i.     Manager #3 was a Maintenance Manager; and

                        j.     Manager #4   wx   a Maintenance Manager.

       THE ORIGIN AI{D HISTORY OF THE FRAUD AI\D BRIBERY SCTIEME

               10.      In or about 2013, David Abell separately agreed, first with Mark Irvello of

MSI, and then with Stanley Woloffof AIS (collectively "the vendors"), to engage with each of

them in a fraud and bribery scheme against SEPTA. Abell agreed with the vendors that the

vendor would provide Abell with regular cash payments for Abell's personal benefrt and that the

vendor would falsely bill SEPTA through the P-Card system for items that the vendor was not

providing to SEPTA. The false charges would cover the cash payments to Abell plus as much as

double that amount to provide an equal share of fraud proceeds for the vendor.

               1   1.   David Abell and the vendors understood and agreed that the vendors

would make these cash payments to Abell not only to generate fiaud proceeds for themselves,

but also to maintain and grow the vendors' business with SEPTA. As part ofthis understanding

and agreement, Abell purchased goods for SEPTA from MSI and AIS and encouraged and

directed other SEPTA managers and employees in the BBD, including those identified above in

paragraph 9, to make purchases from MSI and AIS. Those managers and employees followed

Abell's direction and made purchases from MSI and AIS.

               12.      After agreeing to engage in this scheme, David Abell regularly solicited

and demanded cash payments from the vendors. Mark Irvello and Stanley Woloff then regularly

provided cash to Abell, generally in amounts between $1,000 and $2,000 per month. The




                                                  4
          Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 5 of 13




vendors then charged the P-Cards ofSEPTA managers for numerous items that they did not

provide to SEPTA to cover the cash they gave to Abell and to generate substantial fraud

proceeds for themselves.

               13.     David Abell identified for the vendors the items for which to charge

SEPTA on the P-Cards to make the charges appear legitimate and conceal the fraud from SEPTA

and authorities. Specifically, at Abell's direction, the vendors then billed SEPTA for products

that SEPTA might use, but in fact, did not need at that time. Similarly, at Abell's direction, the

vendors also billed SEPTA for products that they did provide to SEPTA, but billed SEPTA for

substantially more ofthose products than they actually provided. The vendors thus combined

legitimate with fraudulent billing, making the scheme difficult to detect.

                14.    Working with David Abell and other BBD nmrlagers, the vendors used the

managers' P-Cards interchangeably to make it easier to generate fraud proceeds and bill SEPTA

without exceeding the transactional limits on the individual P-Cards. The vendors thus used any

manager's P-Card for transactions without regard for who was making a purchase or engaging in

fraud with them.

                15.    Mark Irvello and Stanley Woloff provided David Abell with cash

payments on a regular basis, approximately twice per month, from in or about 2013 until Abell

left the employment ofSEPTA on or about May 25,2016.




                                                  5
          Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 6 of 13




               16.    Approximately one year before David Abell left the employment      of

SEPTA, he retired from his position as Senior Director of Maintenance and became a contractor

for SEPTA, continuing to work in SEPTA's BBD        as he   did as a manager. SEPTA replaced Abell

with Rodney Martinez, making Martinez the new Senior Director of Maintenance. Abell trained

Martinez in his new position and introduced Martinez to the cash-payment aspect of the fiaud

scheme.

               17.    Vendors Mark Irvello and Stanley Woloffthen made regular cash

payments to David Abell and Rodney Martinez and continued to falsely       bill SEPTA for products

that they did not provide to SEPTA, as described above. The false billing covered the cash

payments to Abell and Martinez and provided fraudulent proceeds for the vendors.

               18.    In or about 2014, several other SEPTA BBD managers, including

defendant JoHN BRADY and those identified above in paragraph 9, began engaging in similar

fraud activity with vendors Mark Irvello and Stanley Woloff. Those managers, along with David

Abell, solicited the vendors for cash and personal items at no cost to the sEPTA managers. The

vendo6 agreed to provide the cash and personal items to the managers, and as the parties further

understood and agreed, the vendors fraudulently billed SEPTA to cover the cost ofthose

payments and products and to generate additional fraud proceeds for the vendors.

               lg.    Vendors Mark Irvello and Stanleywoloff provided the cash and other

items to the SEPTA managers as requested, both to generate fraud proceeds for themselves and

to ensure that they continued to obtain and increase business from SEPTA.

               20.    From in or about 2013 through in or about 2019, vendo$ Mark Irvello and

stanley woloff, through their companies, each became one of sEPTA's largest billers on the P-

                                                6
          Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 7 of 13




Card. In doing so, Irvello defrauded SEPTA of more than $540,000, and Woloffdefrauded

SEPTA ofmore than $330,000.

                 THE DEFEN DANT'S INVOLVEMENT IN THE SCHEME

               21.    In or about January 2016, defendant JOHN BRADY began to participate

in the fraud scheme against SEPTA. Defendant BRADY separately asked both Mark Irvello and

Stanley Woloffto provide him with personal products at no cost to defendant BRADY. Irvello

and Woloffagreed to provide defendant BRADY with those personal products' Defendant

BRADY and the vendors undeBtood and agreed that the vendors would use the sEPTA P-Cards

to fraudulently bill SEPTA for those personal products and generate additional fraud proceeds

for the vendors, in the manner discussed above in paragraph 13.

               22.     From in or about January 2016 through in or about November 2018, as

part of this scheme, defendant JOHN BRADY obtained from Mark Irvello dozens of personal

products and services that Irvello fraudulently billed to SEPTA through the P-Card system. The

total value ofthose products and services was at least $12,699, resulting in at least $16,509 in

fraudulent billing to SEPTA. The products and services included, among others, the following:

numerous expensive tools, a television, a camera and related items, automobile parts, and

automobile repairs.

               23.     From in or about January 2016 through in or about November 2018, in the

Eastem District of Pennsylvania and elsewhere, defendant

                                         JOHNBRADY,

an agent of SEPTA, an organization, and an agency    ofa   state govemment, which received

annual benefits from 2016 through 2018 in excess of$10,000 under federal programs involving

                                                 7
          Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 8 of 13




grants, contracts, subsidies, loans, guarantees, and other forms of federal assistance, knowingly

embezzled, stole, obtained by fraud, and otherwise without authority, knowingly converted, to

the use of any person other than the rightful owner, and intentionally misapplied, and aided and

abetted the embe zzlemenr, stealing, obtaining by fraud, conversion, and misapplication of,

property that was valued at more than $5,000 and was owned by, and under the care, custody,

and control of SEPTA.

               In violation of Title 18, United States Code, Sections 666(a)(1XA), (b) and 2.




                                                 8
         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 9 of 13




                                         COUNT TWO

THE UNITED STATES ATTORNEY FI]RTHER CHARGES THAT:

               1.     Paragraphs   I through 22 of Count   One of this information are

incorporated here.

               2.     From in or about January 2016 through in or about November 2018, in the

Eastem District ofPennsylvania and elsewhere, defendant

                                        JOHNBRADY,

alone and with co-schemers known to the United States Attomey, devised and intended to devise

a scheme to defraud and to obtain money and property   of SEPTA by means of false and

fraudulent pretenses, representations, and promises.

               3.     On or about November 15, 2016, in the Eastem District ofPennsylvania

and elsewhere, defendant

                                        JOHN BRADY,

alone and with co-schemers known to the United States Attomey, for the purpose of execuling

the scheme described above, and attempting to do so, knowingly caused to be transmitted by

means of wire communication in interstate and foreign commerce signals and sounds travelling

from the Eastem District ofPennsylvania to Amazon servers located outside of Pennsylvania, for

Mark Irvello's purchase from Amazon, for approximately $614.99, of      a   Nikon Coolpix P900

digital camera and related equipment for defendant BRADY.

               In violation of Title 18, United States Code, Section 1343.




                                                 9
         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 10 of 13




                                  NOTICE OF FORFEITURE NO. I

THE UMTED STATES ATTORNEY FURTHER CHARGES TTIAT:

                l.      As a result ofthe violation of Title 18, United States Code, Section

666(a)(1)(A), (b), set forth in this information, defendant

                                             JOHN BRADY

shall forfeit to the United States of America any property, real or personal, which represents or is

traceable to the gross receipts obtained, directly or indirectly, as a result ofsuch a violation,

including, but not limited to, the sum of$12,699.

                2.      If   any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                        (a)       cannot be located upon the exercise of due diligence;

                        (b)       has been transferred or sold to, or deposited    with,   a   third party;

                        (c)       has been placed beyond the      jurisdiction of the Court;

                        (d)       has been substantially diminished in value;     or

                        (e)       has been commingled        with other property which cannot be divided

                                  without difficulty;

it is the intent of the United   States, pusuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property subject to forfeitue.

                All pursuant to Title    18, United States Code, Section 982(a)(3)(a).




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         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 11 of 13




                                 NOTICE OF FORIEITURE NO.2

THE UNITED STATES ATTORNEY FURTTIER CIIARGES THAT:

                1.     As a result of the violation of Title 18, United States Code, Section 1343,

set forth in this information, defendant

                                            JOHN BRADY

shall forfeit to the United States of America any property, real or personal, that constitutes or is

derived from proceeds traceable to the commission ofsuch violations, including, but not limited

to, the sum of $12,699.

               2.      If any ofthe property     subject to forfeiture, as a result of any act or

omission of the defendant:

                       (a)       cannot be located upon the exercise ofdue diligence;

                       (b)       has been transfened or sold to, or deposited    with,   a   third party;

                       (c)       has been placed beyond the     jurisdiction ofthe Court;

                       (d)       has been substantially diminished in value; or

                       (e)       has been commingled       with other property which cannot be divided

                                  without difficulty;

it is the intent ofthe United   States, pursuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture ofany other




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         Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 12 of 13




property ofthe defendant up to the value ofthe property subject to forfeiture.

               All pursuant to Title    28, United States Code, Section 2461(c) and   Title 18, United

States Code, Section 981   (a)(l)(C).



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                                                ACTING UNITED        S                       Y




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      Case 2:21-cr-00312-CDJ Document 1 Filed 08/11/21 Page 13 of 13




        No._ _ _ _ _ _ _ _ _ _
                         UNITED STATES DISTRICT COURT

                                 Eastern District of Pennsylvania

                                            Criminal Division

                     THE UNITED STATES OF AMERICA
                                                               vs.

                                                    JOHN BRADY


                                            INFORMATION
                                               Count(s)


18 U.S.C. § 666(a)(1)(A), (b) (theft from organization receiving federal funds - 1 count)
                        18 U.S.C. § 1343 (wire fraud - 1 count)
                           18 U.S.C. § 2 (aiding and abetting)
                                   Notices of forfeiture

                                                     A true bill.
                       _____________________________________________________________________
                                                     Foreman

                   Filed in open court this _________________________________day,
                         Of ________________________A.D. 20_____________
                    __________________________________________________________________________________________
                                                       Clerk

                                         Bail, $___________________________
